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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )         4:05CR3010-1
                                            )
                    Plaintiff,              )         MEMORANDUM
      v.                                    )         AND ORDER
                                            )
SALOME GEE PEREZ,                           )
                                            )
                    Defendant.              )


       The defendant pleaded guilty to conspiring to distribute and possess with intent
to distribute cocaine base and, on November 8, 2005, was sentenced to 100 months’
imprisonment (filing 65). His sentence was affirmed on direct appeal on October 23,
2006 (filing 103). On September 14, 2006, this court granted a motion filed by the
government pursuant to Federal Rule of Criminal Procedure 35(b), and entered an
amended judgment reducing the defendant’s sentence to 80 months (filing 96). No
appeal was taken from the amended judgment. On June 4, 2008, this court granted
a motion filed by the defendant pursuant to 18 U.S.C. § 3582(c) and reduced his
sentence to 67 months (filing 125).

      On December 18, 2008, the defendant filed a pro se notice of appeal pursuant
to 18 U.S.C. § 3742 (filing 128). In response to this filing, the clerk of the court has
issued a memorandum to the undersigned which states that the notice of appeal
“appears to be untimely, but within the 30-day period for extension of time for
excusable neglect per FRAP 4(b).” (Filing 129.)

       I agree that the notice of appeal is untimely, see Fed. R. App. P. 4(b)(1)(A)(i),
but the clerk is incorrect in stating that the defendant may be eligible for an extension
of time. The notice of appeal was not filed within “30 days from the expiration of”
the appeal deadline of “10 days after . . . the entry of the judgment or the order being
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appealed.” Fed.R.App.P. 4(b)(1)(A)(i) & (4). Consequently, the defendant’s notice
of appeal, treated as a motion for extension of time to file an appeal, must be denied
as untimely.

       The clerk of the court has also issued a memorandum to the undersigned
inquiring whether the defendant may proceed in forma pauperis on appeal (filing
130). In response to the clerk’s inquiry, I find that the appeal is not taken in good
faith because the notice of appeal was not filed in a timely manner. The defendant
therefore may not proceed in forma pauperis. See Fed.R.App.P. 24(a)(3).

      IT IS ORDERED that:

      1.     The defendant’s notice of appeal (filing 128), treated as a motion for
             extension of time to file an appeal, is denied.

      2.     In response to filing 129, the clerk of the court is directed not to process
             an appeal to the United States Court of Appeals for the Eighth Circuit
             on the basis of the aforesaid filing by the defendant.

      3.     In response to filing 130, the court hereby certifies pursuant to Federal
             Rule ofAppellate Procedure 24(a)(3) that the defendant’s appeal is not
             taken in good faith because the appeal is untimely; the defendant may
             not proceed in forma pauperis on appeal.

      4.     Pursuant to Federal Rule of Appellate Procedure 24(a)(4), the clerk of
             the court shall forward a copy of this memorandum and order to the
             Clerk of the United States Court of Appeals for the Eighth Circuit.

      December 29, 2008.                        BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge

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